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                             No. 25-2028

                               IN THE
United States Court of Appeals for the Ninth Circuit
                          ASHLEY M. GJOVIK,
                                       Plaintiff-Appellant,
                                 v.
                             APPLE INC.,
                                       Defendant-Appellee.

        On Appeal from the United States District Court
             for the Northern District of California
        No. 3:23-cv-04597-EMC, Hon. Edward M. Chen

   DEFENDANT-APPELLEE APPLE INC.’S RESPONSE
     TO APPELLANT’S MOTION FOR INJUNCTION

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             CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1, Apple Inc.

states that it has no parent corporation and there is no publicly held

company that owns 10% or more of its stock.




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                             INTRODUCTION

     Ms. Gjovik moves to stay all proceedings in the district court,

pending an appeal over which this Court lacks jurisdiction. She also

seeks a host of injunctions directed at Apple, its counsel, and apparently

the district court and magistrate judges managing the litigation below.

     None of this relief is appropriate. Ms. Gjovik bases her vague and

overbroad requests on statutes that do not apply to this case, on

supposed facts and claims that the district court has rejected in orders

not encompassed in her notice of appeal, and on her own misplaced

sense of victimization by ordinary discovery and litigation of the case

that she chose to bring against Apple. She then asks this Court to

exercise power Congress did not grant, skip the appellate briefing

process entirely, conduct its own factfinding in the first instance on her

allegations of harassment, restore her dismissed and consciously

forfeited claims, and then base injunctive relief on them.

     This Court should decline that invitation and deny the Motion.

                             BACKGROUND

     The present appeal arises from the district court’s order granting

in part and denying in part Apple’s motion for partial dismissal of Ms.



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Gjovik’s Fifth Amended Complaint. ECF 179, Dkt. 5.1 Ex. 2.1 While the

Notice of Appeal references other “dismissal orders,” such orders were

filed far outside the jurisdictional 30-day window preceding the Notice

of Appeal. See, e.g., ECF 112 (Oct. 1, 2024); ECF 73 (dismissing civil

rights and RICO claims, among others, May 20, 2024); ECF 46

(dismissing 650-page complaint sua sponte, Jan. 30, 2024)

     On May 7, 2025, Ms. Gjovik filed the instant Motion for

Injunction. Dkt. 15.1. The Motion alleges a variety of acts—by Apple,

by Apple’s counsel, by the judges below, and by several unrelated third

parties—that it characterizes as a pattern of harassment, intimidation,

and retaliation. See generally Mot. It requests a host of invasive

interventions by this Court, ranging from micro-management of

discovery in the district court, to cabining Apple’s defenses, a stay of

proceedings pending appeal, and a criminal referral. Mot. at 19-20.

     Ms. Gjovik did not file any supporting exhibits or a declaration

with the Motion, and it cites no exhibits. Instead, on May 12, 2025—five

days into Apple’s 10-day period to respond—Ms. Gjovik filed two


1 Within this motion, references to “Dkt.__” are to this Court’s docket for

the present appeal,. References to “ECF __” are to entries on the
district court docket for this case, N.D. Cal. No. 3:23-cv-04597-EMC.

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“declarations” consisting of 75 pages laden with legal argument, as well

as over 700 pages of exhibits. Dkt. 19.2 (“Decl. I”), 19.1 (“Decl. II”),

19.3, 23.1 at 4-6. The same day, she also filed a sealed declaration and

exhibits, which she refuses to serve on Apple. Dkt. 20, 23.1 at 6.2

     On May 13, 2025, Ms. Gjovik filed an additional “supplement”

consisting of over 200 additional pages, including an argumentative 24-

page motion to quash discovery orders in the district court. Dkt. 21.

The district court denied that motion the following day. ECF 213.

     Due to these late-filed, argumentative, and withheld materials,

Apple moved to extend its deadline to respond to the Motion, or

alternatively to strike the belated and argumentative declarations and

the unserved sealed materials. Dkt. 23.1. Because this Court has not

yet ruled, Apple responds as best it can per Fed. R. App. P. 27(a)(3)(A),

but reserves the right to amend or expand its response if granted relief.

                               ARGUMENT

     The Motion fails for at least three independent reasons. First,

this Court lacks jurisdiction over this interlocutory appeal at all.



2 On May 15, 2025—two business days before the response deadline—

Ms. Gjovik filed what she claims are redacted versions of some sealed
materials; it lacks any version of at least sealed Exhibits A-L. Dkt. 24.

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Second, the Motion does not develop any legal basis for the relief it

seeks. Finally, it fails to meet the elements for a stay or an injunction.

I.    This Court Lacks Jurisdiction Over This Appeal.

      As Apple demonstrated in its pending motion, this Court lacks

jurisdiction over this appeal. Dkt. 5.1; Dkt. 12.1. Ms. Gjovik’s Notice of

Appeal seeks review only of “the final judgment and related dismissal

orders entered by this Court,” including the partial dismissal order at

ECF 179 (“Dismissal Order”). ECF 190 ¶ 1. But there is no final

judgment on the district court docket; ECF 179 disposes of only some of

Ms. Gjovik’s claims, and some of those only in part, and thus is not an

appealable “final decision[] of the district court[].” 28 U.S.C. § 1291; see

Dkt. 5.1 at 8-14. The district court confirmed as much in denying Ms.

Gjovik’s request for certification under Rule 54(b). See ECF 204.

      Nor can Ms. Gjovik appeal from any earlier “dismissal orders.”

The Supreme Court “has long held that the taking of an appeal within

the prescribed time is ‘mandatory and jurisdictional.’” Bowles v.

Russell, 551 U.S. 205, 209 (2007). The prior dismissal order issued in

October 2024, well over 30 days before the Notice of Appeal here. 28

U.S.C. § 2107(a); see Dkt. 5.1 at 8 n.7. That delay is fatal to this appeal.



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II.    Most Of The Motion’s Bases For Relief Do Not Apply.

       A.    Marsy’s Law and the CVRA do not apply in civil
             proceedings.

       Much of the Motion asserts that Ms. Gjovik is a crime victim and

thus entitled to protection from normal discovery and other litigation

processes under Marsy’s Law (Cal. Const. Art. I, § 28) and the Crime

Victims’ Rights Act (CVRA). See, e.g., Mot. 1, 3, 5-10, 11, 13, 16, 17, 19.

       As a threshold matter, the Motion offers no evidence (visible to

Apple) that any law enforcement or other agency agrees Ms. Gjovik is a

crime victim. While the Motion vaguely alleges that “the FBI opened an

investigation” and “the EPA launched a criminal probe,” Mot. at 3; Decl.

II at 14, neither the Motion nor the belated declarations identify any

such proceedings. See, e.g., Decl. I at 6, 8, 9, 11, 29, 30, 57 (alleging only

that she contacted various agencies); id. at 13, 24 (alleging civil

investigation, not criminal enforcement); Decl. II at 6, 12, 14, 17, 18, 20

(same). Even Ms. Gjovik concedes that “the government has failed to

take meaningful action” in response to her complaints. Mot. at 3.

Repeatedly inserting the words “harassment,” “intimidation,” and

“crime victim” into her briefing and speculating that Apple and its

counsel engaged in a far-reaching conspiracy against her does not make


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it so. Thus, no evidence whatsoever supports Ms. Gjovik’s accusations of

harassment or intimidation in litigating this case. Infra 14-18.

     Regardless, neither of the Motion’s asserted bases for crime-victim

protections applies here. For example, the Motion asserts—without

citing authority—that “Marsy’s Law … is enforceable in civil

proceedings.” Mot. at 11; id. at 5. It is not. Rather, Marsy’s Law

“clearly limits its protections to adult criminal and juvenile

proceedings” and specifically to “the criminal proceeding involving the

victim and the defendant.” Slaieh v. Superior Ct. of Riverside Cnty., 77

Cal. App. 5th 266, 271, 275 (2022) (emphasis in original). Marsy’s Law

“does not authorize relief … in civil proceedings.” Panah v. Dep’t of

Corr. & Rehab., No. 14-00166 BLF (PR), 2019 WL 4168967, at *3 (N.D.

Cal. Sept. 3, 2019). In particular, Marsy’s Law does not permit a civil

litigant to evade conventional discovery in a civil case, as the Motion

requests in multiple forms, even where the same parties are involved in

a separate criminal case. Slaieh, 77 Cal. App. at 275 (wife cannot

refuse deposition by husband in divorce proceeding despite restraining

order and felony prosecution alleging stalking and criminal threats); see

also 2 Witkin, Cal. Evid. 6th Discovery § 36 (2024). And even Ms.



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Gjovik concedes that Marsy’s Law does not authorize “traditional

injunctive relief” of the sort she demands here. Mot. at 9.3

     Despite Ms. Gjovik’s protests, see Mot. at 5-7, the same is true of

the CVRA. As multiple federal circuits have concluded, “[t]he rights

codified by the CVRA … are limited to the criminal justice process.”

United States v. Moussaoui, 483 F.3d 220, 234–35 (4th Cir. 2007) (citing

In re Kenna, 453 F.3d 1136, 1137 (9th Cir. 2006)); see also In re Shahin,

767 F. App’x 376, 377 (3d Cir. 2019) (rejecting mandamus petition

under CVRA from civil litigant claiming she was “victimized … in the

judicial process” by “harassment” and “intimidation”); In re Siler, 571

F.3d 604, 610 (6th Cir. 2009) (in the CVRA, “Congress was concerned

only with the victim’s right to take part in the criminal trial”).

Furthermore, as Ms. Gjovik tacitly concedes, the CVRA authorizes the

district court, not a Court of Appeals, to issue orders protecting crime

victims in the first instance. Mot. at 10; see 18 U.S.C. § 3771(d)(3).4


3 The Motion also invokes California Penal Code § 679.10, Mot. at 9-10,

but that statute concerns rights to obtain a police report and obtain a
certification of “victim helpfulness” for use in immigration proceedings.
4 To the extent the Motion implies otherwise, it cites only “United States

v. Nichols, 504 F.3d 1221 (9th Cir. 2007).” Mot. at 6. No such case
appears to exist; the citation leads to Scarbrough v. Bd. of Trs. Fla.


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     In short, neither Marsy’s Law nor the CVRA grants a party a free-

floating right to demand special treatment in civil litigation based on

her self-proclaimed victimhood, and certainly not from this Court. For

the same reason, the Motion’s plea to “recognize … environmental

crimes … as violent crimes” is simply irrelevant to the relief it requests.

Mot. at 7-9. This Court should deny the Motion.

     B.    Federal witness-tampering statutes do not authorize a
           private party to request relief from this Court.

     The Motion also characterizes Ms. Gjovik as a “federal witness

and informant” or similar phrases, and asserts she is entitled to

protection under federal witness-tampering laws such as 18 U.S.C. §§

1512 and 1513. See, e.g., Mot. at 3, 11, 19. While Apple and its counsel

vigorously deny any wrongdoing, that factual dispute is irrelevant here.

     Federal witness-tampering laws give the government, not private

parties, the right to invoke their protection. Sections 1512 and 1513

define criminal “offense[s]” and authorize only criminal “prosecution” by

the government. See 18 U.S.C. §§ 1512, 1513. Civil enforcement is



A&M Univ., an Eleventh-Circuit case concerning Title VII that does not
discuss crime victims or the CVRA. As Apple has noted elsewhere, Ms.
Gjovik has developed a pattern of relying on such nonexistent authority
invented by generative artificial intelligence tools. Infra 16.

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provided in § 1514, but that section permits only “the attorney for the

Government” in the relevant criminal case, or the court itself, to move

for a TRO or a full protective order. 18 U.S.C. § 1514(a)(1), (b)(1). The

Motion identifies no authority that lets a private party like Ms. Gjovik

seek such orders. This Court should deny the Motion.

      C.    RICO does not authorize this Court to issue the
            requested injunction.

      The Motion’s reliance on the civil remedies section of RICO, 18

U.S.C. § 1964, is also misplaced. See, e.g., Mot. at 1-2, 4, 11-12, 19.

      First, only “[t]he district courts of the United States shall have

jurisdiction to prevent and restrain violations of [RICO] by issuing

appropriate orders.” 18 U.S.C. § 1964(a). Ms. Gjovik never moved for

any injunction, under RICO or otherwise, in the district court. See ECF

213 at 2. And the Motion identifies no authority enabling this Court to

issue injunctions based on RICO in the first instance.

      Second, Ms. Gjovik cannot rely on her now-dismissed RICO claims

pled in prior complaints. The Motion relies on 18 U.S.C. § 1962(c) and

(d), which prohibit parties from engaging in “a pattern of racketeering

activity” or conspiring to do so. See, e.g., Mot. at 1, 3, 6, 12, 17, 20. Not

only did the district court correctly dismiss those claims, Ms. Gjovik


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then explicitly abandoned them. Specifically, the Fourth Amended

Complaint states that Ms. Gjovik “surrendered several additional

claims” including “RICO § 1962(c) and 1962(d) claims” by omitting them

from the complaint “despite being granted leave to amend.” ECF 76 ¶ 6.

She cannot now revive them to justify an injunction. Lacey v. Maricopa

Cnty., 693 F.3d 896, 928 (9th Cir. 2012) (en banc) (claims dismissed

with leave to amend are “waived if not repled”); see also Chubb Custom

Ins. Co. v. Space Sys./Loral, Inc., 710 F.3d 946, 973 n.14 (9th Cir.

2013); First Resort, Inc. v. Herrera, 860 F.3d 1263, 1274 (9th Cir. 2017).

     Third, the Motion otherwise relies on ordinary discovery and

litigation proceedings in the district court, but none are predicate acts

for a pattern-based RICO claim under § 1962(c) or (d). Infra 14-18.

     Finally, the Motion does not even attempt to show that

§ 1962(a)—the only other RICO provision Ms. Gjovik ever invoked in

the district court—is satisfied. As the district court correctly explained,

that provision “is directed specifically at the use or investment of

racketeering income” and requires a plaintiff to show that “funds

derived from the alleged racketeering activity … were used to injure

[her].” ECF 73 at 11 (quoting Lightning Lube v. Witco Corp., 4 F.3d



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1153, 1188 (3d Cir. 1993) and Wagh v. Metris Direct, Inc., 363 F.3d 821,

829 (9th Cir. 2003)). The Motion neither discusses racketeering income

or funds, nor explains how any activity it alleges could violate § 1962(a).

     D.    Neither the All Writs Act nor California law can
           enlarge this Court’s jurisdiction.

     The Supreme Court has long held that a party cannot use the All

Writs Act “to circumvent statutory requirements or otherwise binding

procedural rules.” Shoop v. Twyford, 596 U.S. 811, 820 (2022). The Act

also “cannot enlarge a court’s jurisdiction.” Clinton v. Goldsmith, 526

U.S. 529, 535 (1999). Thus, Ms. Gjovik cannot use the Act to seek relief

under Marsy’s Law or the CVRA in a civil proceeding, under federal

witness-tampering law as a private party, or under RICO from an

appellate court in the first instance. The statutes discussed above set

the terms under which such relief is available; the Act does not alter

them. Pa. Bureau of Corr. v. U.S. Marshals Serv., 474 U.S. 34, 43 (1985)

(“Where a statute specifically addresses the particular issue at hand, it

is that authority, and not the All Writs Act, that is controlling.”). Nor

does the Motion explain how its requested interventions aid this Court’s

jurisdiction. See 28 U.S.C. § 1651.




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     The Motion’s reliance on California Labor Code § 1102.5, see Mot.

at 1, 17, similarly fails. The Code authorizes a petition for injunction on

the basis of § 1102.5 only in state superior court. Cal. Lab. Code §

1102.61. And the Motion does not explain how a state statute can grant

a federal Court of Appeals authority beyond that given by Congress.

     E.    The Motion does not develop other bases for relief.

     In isolated places, the Motion alludes to other alleged authority.

See, e.g., Mot. at 1 (“inherent equitable powers), 3 (“Cal. Lab. Code §

230(e), AB 2499”), 4 (“FEHA-based rights under Cal. Gov’t Code §

12945.8”), 11 (“federal civil rights statutes”); 20 (“inherent power to

disqualify counsel or impose structural remedies”). But it does not

analyze any of these authorities, recite any standards for their

application, or attempt to explain how they are met. Even for pro se

parties, this Court will not craft arguments that are not presented. See,

e.g., Boquist v. Courtney, No. 20-35080, 2022 WL 1184730, at *1 n.2 (9th

Cir. Apr. 21, 2022) (citing Ent. Rsch. Grp., Inc. v. Genesis Creative Grp.,

Inc., 122 F.3d 1211, 1217 (9th Cir. 1997)). It should not do so here.

III. The Motion Does Not Establish The Elements Required For
     Injunctive Relief Or A Stay.

     Even if this Court could issue the requested injunction or stay, the


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Motion does not show that it should do so. A party seeking a temporary

injunction must show (a) she “is likely to succeed on the merits,” (b) she

“is likely to suffer irreparable harm in the absence of preliminary

relief,” (c) “that the balance of equities tips in [her] favor,” and (d) that

an injunction is in the public interest.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008).5 The Motion fails to satisfy each prong.

      In addition, much of the relief requested is too vague to be

understood or applied; it should be denied for that reason as well.

      A.    The Motion does not show a likelihood of success.

      Ms. Gjovik does not show that she is likely to succeed on any

relevant issue, under either the injunctive or stay standards. As noted

above, this Court presently lacks jurisdiction over any district court

order identified in the Notice of Appeal. Supra 4. Tellingly, Ms.

Gjovik’s Notice of Appeal refers only to “dismissal orders” and thus does

not cover most of the discovery and case-management matters about

which Ms. Gjovik complains. Supra 2, 4. And even if this Court could



5 This Court’s standard for a stay pending appeal is “similar, but not

identical” because petitioners need not “show that it is more likely than
not that they will win on the merits,’ instead, they must show that at a
minimum, ‘there is a substantial case for relief on the merits.’” Simon v.
City & Cnty. of San Francisco, 135 F.4th 784, 815–16 (9th Cir. 2025).

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consider RICO and witness-tampering arguments, or alleged denials of

crime-victim rights, the Motion offers only conclusory statements that

do not explain why this Court should reverse or grant other relief. Mot.

11-12. Ms. Gjovik otherwise offers only policy arguments rather than a

legal basis for success on appeal. Mot. 12. In short, the Motion does not

provide any “substantial case for relief,” much less show that Ms. Gjovik

is more likely than not to prevail. That alone is fatal to the Motion.

     B.    The Motion does not establish irreparable harm.

     The Motion does not demonstrate any misdeeds by Apple or its

counsel in this litigation. Instead, it casts virtually every interaction

with Apple counsel, no matter how benign or routine, as an

impermissible attack.

     But Apple’s ordinary litigation here is not harassment,

intimidation, “coercive discovery,” or retaliation. Many of Ms. Gjovik’s

grievances stem from routine discovery practices and other garden-

variety disputes in litigating the district court case. For example, Ms.

Gjovik criticizes Apple’s request to produce medical and psychological

records. Mot. at 16-17. But Ms. Gjovik put her physical and mental




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health at issue by filing her lawsuit; she cannot now complain that

Apple seeks relevant, discoverable information to use in its defense.

     Her insistence that such routine discovery will violate her right to

privacy also rings hollow. Mot. at 17. Ms. Gjovik has resisted entry of

the district court’s model protective order (Ex. 1 (“PO”)), which permits

either party to designate documents produced in discovery as

confidential. See, e.g., ECF 211, 213; Dkt. 22. Indeed, Ms. Gjovik

alleges that Apple wants a protective order solely to threaten her. See,

e.g., Mot. at 13. Ms. Gjovik misunderstands both the purpose and the

operation of the district court’s model protective order. The PO permits

both sides to designate confidential materials to protect privacy, while

using those materials for their proper purpose: litigating this case. Ex.

1 ¶¶ 7.1-7.2, 13. It also permits either party to challenge any improper

designations and bring resulting disputes to the court. Ex. 1 ¶¶ 6.1-6.3.

Apple will abide by such rulings. Ms. Gjovik risks sanctions only if she

unilaterally violates that process by publicizing designated materials

without the court’s determination.6 Explaining the mechanics of the PO




6 The same is true of materials made confidential elsewhere, such as

Apple’s NLRB settlement. See Mot. at 12-13.

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to Ms. Gjovik does not constitute a threat, and Ms. Gjovik repeating the

phrase “gag order” after a variety of loaded adjectives does not change

that reality. See, e.g., Decl. I at 7, 32, 40, 42.

      Other complaints rest on Ms. Gjovik’s belief that criticizing her

filings is improper harassment. For example, she accuses Apple of

leveling “baseless allegations” that her filings are “‘improper’ because

they are supported by [artificial intelligence] tools.” Mot. at 17-18. Ms.

Gjovik misunderstands Apple’s critique, which is anything but baseless:

Apple does not object to responsible use of AI. But Ms. Gjovik appears

to accept fictitious holdings—and even entire cases—invented by AI

tools, never verifies them, yet submits them to the courts as relevant or

controlling authority. See, e.g., Dkt. 6.1 at 8-10; ECF 198 at 5 n.2, 16

n.6. This very Motion is no exception. See, e.g., Dkt. 23.1 at 14-15;

supra 7 n.4. Calling that recurring lapse to Ms. Gjovik’s or the court’s

attention is not retaliation, witness tampering, or intimidation. See

Mot. at 17-18. Nor is pointing out to Ms. Gjovik that she has failed to

meet her obligations to the court—under Fed. R. Civ. P. 11, Fed. R. App.

P. 38, or otherwise—and that sanctions might follow if she persists.




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     Other allegations against Apple’s counsel are either speculative or

entirely fantastical. For example, Ms. Gjovik accuses Apple’s counsel of

disrupting her internet connection during a hearing by bringing “an

illegal signal jammer” to the court. Decl. I at 57. She then asserts that

Apple or its counsel coordinated “social media accounts … to gaslight”

her. Id. No evidence supports either accusation. Equally unsupported

is her apparent belief that Apple or its counsel coordinated a separate

case by a third party in Washington state, in an effort to “get her

arrested.” Mot. at 13.7 The same is true of the Motion’s discussion

Lopez and Epic; they do not overlap the facts here. Mot. at 14-16.

     Finally, other vague allegations are simply hard to discern, if they

are not mere conclusory repetitions of those addressed above. See, e.g.,

Mot. at 11 (“obstruction of justice”); Mot. at 12 (“clear pattern of

retaliatory behavior”); Mot. at 14 (“unsupervised discovery used as a

tool of coercion and surveillance”).




7 That case, Gjovik v. Washington, involved Ms. Gjovik’s effort to

overturn a state court restraining order against her obtained by a
former Apple employee. See No. 2:22-cv-00807, 2022 WL 2317301, at
*1-2 (W.D. Wash June 28, 2022). Neither matter is before this Court,
and neither Apple nor its counsel was involved.

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     Thus, nothing sinister is happening here; Apple’s communications

and conduct exhibit no more than routine disagreements in litigation,

well below any standard for harassment. For example, in this Court’s

Rule 11 analysis: courts focus on “objective[]” intent to harass, not how

a party’s actions are “subjectively viewed by the signer’s opponent,” and

even then, those actions “must do more than in fact bother, annoy or

vex the complaining party.” Zaldivar v. City of Los Angeles, 780 F.2d

823, 831–32 (9th Cir. 1986), abrogated on other grounds by Cooter &

Gell v. Hartmarx Corp., 496 U.S. 384 (1990). More specifically, other

federal courts have found it “hard to believe that [communications]

could ever amount to actionable harassment” where there are no

“threats other than the threat to enforce” court orders. Amari Co. v.

Burgess, 546 F. Supp. 2d 571, 581 (N.D. Ill. 2008).

     In short, the “ongoing harms” Ms. Gjovik alleges are either a

normal part of litigating any case, or they fall somewhere between

speculative and imaginary. None can meet Ms. Gjovik’s burden.

     C.    Neither the balance of equities nor the public interest
           favors the requested injunction.

     The Motion’s brief treatment of the balance of equities suffers

many of the infirmities already discussed. It chiefly offers conclusory


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statements that “Apple’s actions are illegal and harmful” or the like, or

repeats its prior inaccurate conclusions about Marsy’s Law, the CVRA,

and witness tampering. Mot. at 18-19. Meanwhile, it ignores the self-

evident fact that the requested relief would gut Apple’s ability to obtain

relevant evidence through discovery, formulate its defense to Ms.

Gjovik’s allegations, or even move this case forward at all.

     The Motion’s discussion of public interest is similarly lacking. It

again relies chiefly on Marsy’s Law and CVRA, which do not apply in

civil proceedings. Mot. at 19; supra 6-8. To the extent it rests on the

public’s right to know or the First Amendment, it does not explain why

the PO’s mechanisms for designation challenges fail to protect such

rights, or how the relief sought here would serve them. Id. And the

references to state laws are conclusory and undeveloped. Id.; supra 12.

     D.    Much of the requested relief is vague and overbroad.

     Injunctions must describe the prohibited conduct “specifically” and

“in reasonable detail”; “an ordinary person reading the court’s order

should be able to ascertain from the document itself exactly what

conduct is proscribed.” Columbia Pictures Indus., Inc. v. Fung, 710 F.3d




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1020, 1047–48 (9th Cir. 2013). If must also be “no more burdensome …

than necessary to provide complete relief.” Id.

     Much of the relief requested in the Motion fails to meet either

standard. See Mot. at 19-20. For example, the Motion seeks both to

prohibit “further retaliation, harassment, or intimidation against

Plaintiff” and to “prevent further actions that would disrupt the

litigation.” Id. But Ms. Gjovik would label even ordinary discovery

requests, meet and confer communications, or disagreements in briefing

as threatening; it is unclear how any such order would not disrupt (or

entirely halt) litigation. Supra 14-16. Similarly, she asks to prohibit

“discovery that seeks to reframe, reduce, or deny the nature of Gjovik’s

trauma.” Mot. at 20. On its face, this request seems to prevent Apple

from at least taking her deposition or developing any defense related to

damages, and it is hard to make sense of it otherwise. Other requests,

including those to bar confidentiality orders “as a retaliatory narrative

device; and to obstruct government access to evidence” and to “[r]estore

the status quo ante,” are similarly too vague and overbroad. Id.

                             CONCLUSION

     This Court should deny the Motion.



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May 19, 2025                      Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     1. Pursuant to Fed. R. App. 32(g), this response complies with the

type-volume limitation of 9th Cir. R. 27-1, because this response

contains 20 pages, excluding the parts of the response exempted by 9th

Cir. R. 27-1.

     2. This response complies with the typeface requirements of Fed.

R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App.

P. 32(a)(6) because it has been prepared in a proportionally spaced

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